         Case 1:20-cv-05482-VSB-KNF Document 9 Filed 11/09/20 Page 1 of 3



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------------X
BEYOND BESPOKE TAILORS, INC. and NICK
TORRES,
               Plaintiffs,

                   - against -                                                      ORDER

JAMES BARCHIESI, WORKSITE LLC,                                                   20-CV-5482 (VSB)(KNF)
WORKSITE ACCOUNTANTS AND ADVISORS,
WORKSITE INTERACTIVE LLC, WORKSITE
VENTURES, and ROTH AND ASSOCIATES,

                             Defendants.
------------------------------------------------------------------------X
KEVIN NATHANIEL FOX
UNITED STATES MAGISTRATE JUDGE

         A telephonic status conference shall be held in the above-captioned action on April 20, 2021,

at 2:00 p.m. The parties shall use call-in number (888) 557-8511 and access code 4862532. The

parties are also directed to confer and, thereafter, propose to the Court, in a joint writing, three dates on

which all parties will be available to participate in a settlement conference.

Dated: New York, New York                                            SO ORDERED:
       November 9, 2020
Case 1:20-cv-05482-VSB-KNF Document 9 Filed 11/09/20 Page 2 of 3




                      INITIAL CONFERENCE QUESTIONNAIRE

1.   If not yet made, date for completion of automatic disclosures required by Fed. R. Civ. P.
     26(a) or, where applicable, Local Civil Rule 33.2 of this court.: ________________

2.   Number of depositions by plaintiff(s) of:          parties _____     non-parties _____

3.   Number of depositions by defendant(s) of:          parties _____     non-parties _____

4.   Number of depositions which the parties expect may last longer than the seven hour limit
     under Fed. R. Civ. P. 30(d)(2): party _____     non-party _____

5.   Number of expert witnesses of plaintiff(s): _____ medical _____ non-medical
     Date for expert report(s): _________________

6.   Number of expert witnesses of defendant(s): _____ medical _____ non-medical
     Date for expert report(s): _________________

7.   Maximum number of requests for admission by: plaintiff(s) _____ and defendant(s)
     _____. (Note: requests must be served at least 30 days before the discovery deadline)

8.   Date for completion of all discovery: __________________
     N.B. All discovery is to be initiated so as to be completed on or before the date the
     parties insert at paragraph 8.

9.   Date by which plaintiff(s) will supply his or her pretrial order materials to defendant(s):
     __________________.

                                           2
Case 1:20-cv-05482-VSB-KNF Document 9 Filed 11/09/20 Page 3 of 3



10.   Date by which the parties will submit a pretrial order with trial briefs and either
      (1) proposed findings of fact and conclusions of law for a non-jury trial, or (2) proposed
      voir dire questions and proposed jury instructions, for a jury trial: __________________

11.   Is there any limitation to be placed on discovery, including any protective or
      confidentiality order(s)? ____ If yes, please provide a short statement of the limitation(s)
      needed.

12.   Is there any discovery issue(s) on which the parties, after a good faith effort, were unable
      to reach agreement? ____ If yes, please provide a short statement of the issue(s).

      Date:                                              Date:

      _____________________________                      ______________________________
      Signature of Pro Se Plaintiff or                   Signature of Counsel to Defendant(s)
      Counsel to Plaintiff(s)




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